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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         HOT SPRINGS DIVISION

WHITLEY BATES and
SAMUEL SPEARS                                                    PLAINTIFFS

       v.                      No. 15-CV-6088

RENT-A-CENTER, INC. d/b/a
RENT-A-CENTER HOT SPRINGS
d/b/a RAC STORE #00886                                             DEFENDANT


                                   ORDER

       Currently before the Court are Defendant’s Motion to Stay

Proceedings and Compel Arbitration (doc. 6) and supporting brief

(doc. 7). Plaintiffs did not file a response. Plaintiffs executed

a Consumer Arbitration Agreement requiring that if a “dispute or

claim” arose between Plaintiffs and Defendant, the dispute or claim

was subject to binding arbitration.         (Doc. 6, Ex. A).

       The Court, being well and sufficiently advised, finds the

motion (doc. 6) should be and hereby is GRANTED, and this action

will   be   STAYED   PENDING   ARBITRATION.      This   action    is   hereby

administratively terminated subject to being reopened upon the

conclusion of the arbitration proceedings. The parties are directed

to immediately notify the Court upon conclusion of the arbitration

proceedings.

       It is so ordered this 10th day of November, 2015.

                                            /s/ Robert T. Dawson
                                           Honorable Robert T. Dawson
                                           United States District Judge
